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                          UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF PENNSYLVANIA


 RE:       Ramirez v. Barr, et al                    Civil Action No. 4:20-CV-1746

 Inmate: Rigoberto Ramirez Ramirez                         (JUDGE MANNION)

 Reg . ID: A #206-771-661


                                           ORDER



        This habeas corpus matter was lodged by the petitioner on September 24, 2020,

without a filing fee or, an application to proceed in forma pauperis. (Doc. 1).

        Accordingly, on September 24, 2020, an Administrative Order issued in this case

which informed the petitioner that this action would not proceed unless the petitioner,

within thirty (30) days of the date of the Administrative Order, either: (1) tendered to the

"Clerk, U.S. District Court" payment in the amount of $5.00; or (2) filed a properly

completed and signed application to proceed in forma pauperis. An application to proceed

in forma pauperis was enclosed . Petitioner was advised that failure to comply with the

terms of the Administrative Order within thirty (30) days would cause this case to be

dismissed without prejudice. (Doc. 3) .

       More than thirty (30) days have elapsed and the Petitioner has made neither an

appropriate submission, nor requested an additional extension of time in which to pay the

filing fee or to submit the appropriate financial forms.

       Further, on November 3, 2020, the Respondent filed a Suggestion of Mootness in

which she indicates, inter alia, that legal counsel for ICE has recently advised that the

United States Attorney's Office that on October 29, 2020, the petitioner was removed from

the United States and that the Court should dismiss the petition as moot. (Doc. 6).
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         THEREFORE , IT IS ORDERED that this action is dismissed without prejudice, and

the Clerk of Court shall close this file .




                                                     States District Judge
                                                     District of Pennsylvania


Dated:       November 5, 2020
20-1746-01
